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                  IN THE UNITED STATES DISTRICT COURT
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                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                         Case No. 2:21-MJ-04307
      UNITED STATES OF AMERICA,
13                                         ORDER OF DETENTION
                      Plaintiff,
14
                 v.
15
     XUNBIN CHEN,
16
17                    Defendant.
18
19         On September 22, 2021, Defendant Xunbin Chen made his initial
20   appearance on the Complaint filed in this matter. Deputy Federal Public
21   Defender Gabriela Rivera was appointed to represent Defendant.
22        Defendant submitted on the detention recommendation in the Pretrial
23   Services Report.
24         ❑
           D    On motion of the Government [18 U.S.C. § 31420(1)] in a case

25   allegedly involving a narcotics or controlled substance offense with maximum

26   sentence of ten or more years.

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 1         ❑D    On motion by the Government or on the Court's own motion

 2 [18 U.S.C. § 31420(2)] in a case allegedly involving a serious risk that the
 3   defendant will flee.

 4         ❑
           D     On motion by the Government or on the Court's own motion

 5   [18 U.S.C. § 31420(2)] in a case allegedly involving a serious risk that the

6    defendant will obstruct or attempt to obstruct justice, or threaten, injure, or

 7   intimidate a prospective witness or juror, or attempt to do so.

 8         The Court concludes that the Government is entitled to a rebuttable

 9   presumption that no condition or combination of conditions will reasonably

10   assure the defendant's appearance as required and the safety or any person

11   or the community [18 U.S.C. § 3142(e)(2)].

12         The Court finds that no condition or combination of conditions will

13   reasonably assure:

14               ❑
                 D the appearance of the defendant as required.

15               ❑
                 D the safety of any person or the community.

16         The Court has considered the following:

17        (a)the nature and circumstances of the offenses) charged, including

18         whether the offense is a crime of violence, a Federal crime of terrorism,

19         or involves a minor victim or a controlled substance, firearm, explosive,

20         or destructive device;

21        (b) the weight of evidence against the defendant;

22        (c) the history and characteristics of the defendant; and

23        (d) the nature and seriousness of the danger to any person or the

24         community.

25   See 18 U.S.C. § 3142(g) The Court also considered the report and

26   recommendation of the U.S. Pretrial Services Agency.

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  1         The Court bases its conclusions on the following:
 2          As to risk of non-appearance:
 3                   ❑D   Defendant is a Chinese citizen, has a valid Chinese
 4    passport, and has family ties to China;
 5                   ❑D   Defendant was convicted in 2015 in Minnesota of felony
      financial transaction card fraud;
 ~                   D    Defendant has various aliases and dates of birth associated
  g   with his name;
 9                   D    Minimal/conflicting information was provided to the
10    Pretrial Services Agency regarding Defendant's current residence; Defendant

11    stated that he lives near El Monte, California, but could not recall the city,

12    and his wife stated that she does not know where Defendant lives, as he stops

13    by once or twice a week to sleep.

14          As to danger to the community:

15                ❑D      Defendant was convicted in 2015 in Minnesota of felony

16    financial transaction card fraud;
1~                D       Defendant has made threats against the life of the co-
1g    conspirator.

19                ❑D      Allegation in paragraph 22 of the Affidavit in Support of
20    the Complaint.

21          It is therefore ORDERED that Defendant Xunbin Chen be detained

22    until trial. The defendant will be committed to the custody of the Attorney
23    General for confinement in a corrections facility separate, to the extent
24    practicable, from persons awaiting or serving sentences or being held in

25    custody pending appeal. The defendant will be afforded reasonable
2C    opportunity for private consultation with counsel. On order of a Court of the
2'7   United States or on request of any attorney for the Government, the person
28    in charge of the corrections facility in which defendant is confined will deliver

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 1   the defendant to a United States Marshal for the purpose of an appearance in
 2   connection with a court proceeding. See 18 U.S.C. § 3142(1).

 3   Dated: September 23, 2021
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 6                                PATRICIA DONAHUE
 ~                                UNITED STATES MAGISTRATE JUDGE

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